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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 WILMINGTON TRUST, NATIONAL
 ASSOCIATION, AS TRUSTEE
                 Plaintiff,
                                                                CIVIL ACTION NO. 20-5309
            v.
 SHREE SAI SIDDHI QUAKERTOWN,
 LLC
                 Defendant.
 WILMINGTON TRUST, NATIONAL
 ASSOCIATION, AS TRUSTEE
                 Plaintiff,
                                                                CIVIL ACTION NO. 20-5312
            v.
 SHREE SAI SIDDHI KING OF
 PRUSSIA, LLC
                           Defendant.
 WILMINGTON TRUST, NATIONAL
 ASSOCIATION, AS TRUSTEE
                 Plaintiff,
                                                                CIVIL ACTION NO. 20-5318
            v.
 SHREE SAI SIDDHI WYOMISSING,
 LLC,
                 Defendant.

                                                   ORDER
        AND NOW, this 11th day of May 2021, upon consideration of the parties’ joint report, it

is hereby ORDERED that the Court’s stay of the pending Motions to Appoint Receiver 1 shall

continue at the request and agreement of the Parties. It is further ORDERED that by June 10,

2021, the parties, through counsel, shall update the Court, in writing, as to the progress of their




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  Civil Action No. 20-5309, Doc. No. 5; Civil Action No. 20-5312, Doc. No. 4; Civil Action No. 20-5318, Doc. No.
4.
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negotiations. This joint report should be submitted to Chambers by fax (267-299-5077) or email

(Chambers_of_Judge_Cynthia_M_Rufe@paed.uscourts.gov) and not filed of record.

       It is so ORDERED.
                                                       BY THE COURT:

                                                       /s/ Cynthia M. Rufe

                                                       CYNTHIA M. RUFE, J.




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